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7 Yummy Donuts and Subs
8 UNITED STATES DISTRICT COURT
9
10 CENTRAL DISTRICT OF CALIFORNIA
11 |}PATRICIA FILARDI, an individual, ) Case No: 5:18-cv-01847-CJC
)
12 Plaintiff, ) DEFENDANT WILLIAM UNG DBA
13 ) YUMMY DONUTS AND SUBS’
14 V. ) OPPOSITION TO PLAINTIFF’S
) NOTICE OF MOTION AND MOTION
15 || YUMMY DONUTS AND SUBS, a_) FOR LEAVE TO FILE FIRST
16 business of unknown form; PAUL D. ) AMENDED COMPLAINT
SOTO AND TANNIS D. SOTO as __)
17 || individuals and trustees of the P. AND)
1g || I. Soto Revocable Trust Dated March )
19 14, 2012; and DOES 1-10, inclusive, )
)
20 Defendants. )
21 Defendant, William Ung dba Yummy Donuts and Subs, (“Defendant YDS”), by
22
3 counsel, hereby opposes Plaintiff, Patricia Filardi’s Motion for Leave to File First
24 || Amended Complaint.
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DEFENDANT WILLIAM UNG DBA YUMMY DONUTS AND SUBS’ OPPOSITION TO PLAINTIFF’S NOTICE OF
MOTION AND MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

 

 

 
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MEMORANDUM OF POINTS AND AUTHORITIES
Defendant YDS opposes Plaintiffs Motion for Leave to File First Amended

Complaint on the ground that Plaintiff has known about the identity of the additional
party she wishes to name and should have added said party long before this current

filing of December 24, 2019.

In general, a court should liberally allow a party to amend its
pleading. See Fed.R.Civ.P. 15(a); see also Owens v. Kaiser
Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir.2001) (“A
district court shall grant leave to amend freely when justice so
requires,” and “this policy is to be applied with extreme
liberality.”) (internal quotation marks and citations omitted).
Courts may decline to grant leave to amend only if there is
strong evidence of “undue delay, bad faith or dilatory motive on
the part of the movant, repeated failure to cure deficiencies by
amendments previously allowed, undue prejudice to the
opposing party by virtue of allowance of the amendment, [or]
futility of amendment, etc.” Foman v. Davis, 371 U.S. 178,

182, 83 S.Ct. 227, 9 L-Ed.2d 222 (1962). “[T]he consideration
of prejudice to the opposing party carries the greatest

weight.” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d
1048, 1052 (9th Cir.2003). Sonoma Cty. Ass'n of Retired
Employees v. Sonoma Cty. (9th Cir. 2013)708 F.3d 1109, 1117.

The prejudice that would arise here is that the Motion was filed at the last

possible moment at the motion cut-off, after the discovery cut-off, and right before

We see no reason to deviate from that approach here, but the
result would not change if Johnson's motion to amend the
complaint were treated as a de facto motion to amend the
scheduling order rather than a motion to join a party after the
binding cut-off date for the motion had passed. In the former

 

 

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case, Johnson needed to show “good cause” for the amendment.

Fed.R.Civ.P. 16(b). In the latter, the terms of the order stated

that no joinder would be permitted after the cut-off date unless

“extraordinary circumstances [had been] demonstrated.”°

Johnson failed to make an adequate showing under either

standard.” Johnson v. Mammoth Recreations, Inc. (9" Cir.

1992) 975 F.2d 604, 609.

In this case, for the following reasons, good cause has not been shown. Plaintiff
has known for at least six months that the people they sued (and served) were not the

proper parties.

Plaintiff via the Declaration of Joseph R. Manning (filed concurrently with the
Motion to Amend Complaint) indicates, “Through further diligence of the public
documents involving the property in question and determined that Defendants Paul D.
Soto and Tannis D. Soto are not the current record owners of the Subject Property
where Yummy Donuts and Subs is located. It was further determined that the current
record owner is BROOKSIDE SAN MATEO PARTNERS, L.P. which is a necessary
party to this action.” (Decl. Manning, (6)

Plaintiff previously filed with this Court an Amended Complaint on July 8,
2019, which indicates that defendant Brookside San Mateo Partners, L.P. owns the
property at 1154 Brookside Avenue, Redland[s] CA 92373. (See attached Exhibit A,

{ 5). The Amended Complaint was rejected by the Court as leave of Court was not

 

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sought prior to or concurrently when the Amended Complaint was filed. Nothing

further was done by plaintiff until late December.

Plaintiff must have known at or prior to the July 8, 2019 filing of the Amended
Complaint that Brookside San Mateo Partners, L.P., was the current owner of the
Subject Property where Yummy Donuts and Subs is located.

Plaintiff could have and has failed to file for leave to file her Amended
Complaint within a reasonable time of having knowledge for the existence of
Defendant Brookside San Mateo Partners, L.P.

Additionally, Plaintiff failed to perform due diligence in ascertaining the owner
of the property. Relying on a title report is not due diligence, since only the record
notice in the County of San Bernardino’s files can be relied upon. To the extent that
plaintiff used title insurance, her remedy is against the title insurer.

Plaintiff should have known who the landlord was from the start and should
have named the actual owner in her original complaint. As a matter of common
knowledge, this information is easily available from the San Bernardino County tax
collector online and by telephone. Plaintiff did not diligently conduct research as to
the owner of the property, and as such should not be allowed to amend, even with the

liberal standard of amendment.

Dated: January 6, 2020 MILLIGAN, BESWICK, LEVINE & KNOX, LLP

ichael Reitef
Attorneys¢for Defendant, William Ung dba
Yummy Donuts and Subs

 

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PROOF OF SERVICE BY MAIL

The undersigned declares as follows: At the time of service I was over 18
years of age and not a party to this action. My business address is 1447 Ford Street,
Suite 201, Redlands, CA 92374, which is in the County, City and State where this
mailing occurred.

On January 6, 2020, I served the document described as: Defendant, William
Ung dba Yummy Donuts and Subs’ Opposition to Plaintiff's Notice of Motion and
Motion for Leave to File First Amended Complaint on all interested parties in this
action:

Craig G. Cété, Esq.

Manning Law APC

4667 MacArthur Blvd., Suite 150
Newport Beach, CA 92660

I served a true copy of the document above by depositing it in the United
States Mail in a sealed envelope with the postage fully prepaid to the addresses
above.

I certify under the penalty of perjury that the foregoing is true and correct.

Executed on January 6, 2020, at Redlands, California.

sy

JiEva M. Peabody

 

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